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6
                                 UNITED STATES DISTRICT COURT
7                                     DISTRICT OF NEVADA

8    UNITED STATES OF AMERICA,                          Case No. 2:15-cr-99-JCM-VCF

9                   Plaintiff,                          Motion to Dismiss the Indictment as to
                                                        Defendants Dominguez and Quintero
10          v.

11   EVANGELINA DOMINGUEZ and

12   DIEGO QUINTERO,

13                  Defendants.

14

15          On April 7, 2015, a federal grand jury returned an Indictment charging four

16   defendants, including Evangelina Dominguez and Diego Quintero, with 39 total counts of

17   Conspiracy to Defraud the United States, in violation of 18 U.S.C. § 371, and Aiding or

18   Advising False Income Tax Returns, in violation of 26 U.S.C. § 7206(2), based on conduct

19   occurring in 2009 and 2010. (ECF 1.) That same day, the Court issued a warrant for the

20   arrest of all four defendants. (ECF 6.) More than 5 years later, the warrants for the

21   Dominguez and Quintero remain outstanding.1

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     1
       Co-defendants Roger Linares and Sergio Acosta were arrested in 2015 and convicted and
24   sentenced in 2016.
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1            Pursuant to Federal Rule of Criminal Procedure 48(a), the Government now

2    requests permission of the Court to dismiss the Indictment as to Defendants Dominguez

3    and Quintero. If granted, because those defendants would no longer face any charges in

4    this case, the Government further requests that the Court quash the outstanding warrants

5    for their arrest.

6            Respectfully submitted this 2nd day of November, 2020.

7                                                     NICHOLAS A. TRUTANICH
                                                      United States Attorney
8
                                                      s/ Richard Anthony Lopez
9                                                     RICHARD ANTHONY LOPEZ
                                                      Assistant United States Attorney
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1                      UNITED STATES DISTRICT COURT
2
                            DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                           Case No. 2:15-cr-99-JCM-VCF

4                   Plaintiff,                           [Proposed] Order Granting
                                                         Motion to Dismiss the Indictment as to
5           v.                                           Defendants Dominguez and Quintero

6    EVANGELINA DOMINGUEZ and

7    DIEGO QUINTERO,

8                   Defendants.

9

10          Pursuant to Federal Rule of Criminal Procedure 48(a), and upon leave of Court, the

11   United States hereby dismisses the Indictment against Defendants Evangelina Dominguez

12   and Diego Quintero.

13                                                       NICHOLAS A. TRUTANICH
                                                         United States Attorney
14
                                                         s/Richard Anthony Lopez
15                                                       RICHARD ANTHONY LOPEZ
                                                         Assistant United States Attorney
16

17          Leave of Court is granted for the filing of the above dismissal. Because the

18   Indictment has been dismissed as to Defendants Evangelina Dominguez and Diego

19   Quintero, it is hereby ordered that the warrants for their arrest, issued April 7, 2015, are

20   quashed.

21          DATED this _______6,day
                   November         of ___________, 2020.
                                 2020.

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                                              HONORABLE JAMES C. MAHAN
24                                            UNITED STATES DISTRICT JUDGE

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